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lN THE UN|TED STATES DlSTRlCT COURT
FOR THE DlSTR|CT OF COLORADO
Criminal Action No. 11-cr-00141-MJW-02
UN|TED STATES OF AMER|CA,
Plaintiff,
vs.
THOlVlAS WlLLl/‘-\l'\/lS1

Defendant.

 

ORDER TO SURRENDER lN LlEU OF
TRANSPORTAT|ON BY THE UN|TED STATES IVIARSHAL

 

|T |S ORDERED that Defendantl THOMAS VV|LL[AN|S, having been
sentenced in the above-named case to the custody of the Bureau of Prisons, is to
surrender himself by reporting to the Warden, Federa| Correctional |nstitution Sate||ite
Camp-Englewood, Littleton, on December 4, 2012, by 12:00 noon, and will travel at his
own expense

DATED at Denver, Co!orado, this '-" day ofoctober, 2012.

BY THE COURT:

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MlCHAEL J_/WAT'A(NABE
United States Nlagistrate Judge

 

